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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,

C.A.No._- (ABC)
Vv.

FREDERICK BAUMAN,

Defendant.

 

 

CONSENT OF DEFENDANT FREDERICK BAUMAN

Ll. Defendant Frederick Bauman (“Defendant”) waives service of a summons and the
complaint in this action, enters a general appearance, and admits the Court’s jurisdiction over
Defendant and over the subject matter of this action.

2. Without admitting or denying the allegations of the complaint (except as provided
herein in paragraph 12 and except as to personal and subject matter jurisdiction, which
Defendant admits), Defendant hereby consents to the entry of the final Judgment in the form
attached hereto (the “Final Judgment”) and incorporated by reference herein, which, among other
things:

(a) permanently restrains and enjoins Defendant from violation of Sections
5(a) and S(c) of the Securities Act of 1933 [15 U.S.C. §§ 77e(a) and (c)];

(b) restrains and enjoins Defendant, for a period of five years, from providing
directly or indirectly, or receiving compensation from the provision of,
professional legal services to any person or entity in connection with the

offer or sale of securities pursuant to, or claiming, an exemption under
 

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Section 4(a)(1) predicated on Securities Act Rule 144, or any other
exemption from the registration provisions of the Securities Act,
including, without limitation, participating in the preparation or issuance
of any opinion letter related to such offering or sale;

(c) restrains and enjoins Defendant from participating in any offering of a
penny stock for a period of five years pursuant to Section 20(g) of the
Securities Act [15 U.S.C. § 77t(g)] and 21(d) of the Exchange Act [15
US.C. § 78u(d)];

(d) orders Defendant to pay disgorgement in the amount of $13,000, plus
prejudgment interest thereon in the amount of $1,653.37; and

(d) orders Defendant to pay a civil penalty in the amount of $60,000 under
15 U.S.C. §§ 77t(d).

3; Defendant acknowledges that the civil penalty paid pursuant to the Final
Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the
Sarbanes-Oxley Act of 2002. Regardless of whether any such Fair Fund distribution is made, the
civil penalty shall be treated as a penalty paid to the government for all purposes, including all
tax purposes. To preserve the deterrent effect of the civil penalty, Defendant agrees that he shall
not, after offset or reduction of any award of compensatory damages in any Related Investor
Action based on Defendant’s payment of disgorgement in this action, argue that he is entitled to,
nor shall he further benefit by, offset or reduction of such compensatory damages award by the
amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty Offset’). If
the court in any Related Investor Action grants such a Penalty Offset, Defendant agrees that he

shall, within 30 days after entry of a final order granting the Penalty Offset, notify the
 

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Commission’s counsel in this action and pay the amount of the Penalty Offset to the United
States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not be
deemed an additional civil penalty and shall not be deemed to change the amount of the civil
penalty imposed in this action. For purposes of this paragraph, a “Related Investor Action”
means a private damages action brought against Defendant by or on behalf of one or more
investors based on substantially the same facts as alleged in the Complaint in this action.

4, Defendant agrees that he shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors. Defendant further
agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.

5. Defendant waives the entry of findings of fact and conclusions of law pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

6. Defendant waives the right, if any, to a jury trial and to appeal from the entry of
the Final Judgment.

7. Defendant enters into this Consent voluntarily and represents that no threats,
offers, promises, or inducements of any kind have been made by the Commission or any

member, officer, employee, agent, or representative of the Commission to induce Defendant to

enter into this Consent.
 

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8. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if fully set forth therein.

9. Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and
hereby waives any objection based thereon.

10. Defendant waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions. Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

11. Consistent with 17 C.F.R. 202.5(), this Consent resolves only the claims asserted
against Defendant in this civil proceeding. Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal liability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court’s entry of a permanent injunction may have collateral consequences under federal
or state law and the rules and regulations of self-regulatory organizations, licensing boards, and
other regulatory organizations. Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a
member of, a self-regulatory organization. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any
 

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disciplinary proceeding before the Commission based on the entry of the injunction in this
action, Defendant understands that he shall not be permitted to contest the factual allegations of
the complaint in this action.

12. Defendant understands and agrees to comply with the terms of 17 C.F.R.
§ 202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant
or respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies
the allegations.” As part of Defendant’s agreement to comply with the terms of Section 202.5(e),
Defendant: (i) will not take any action or make or permit to be made any public statement
denying, directly or indirectly, any allegation in the complaint or creating the impression that the
complaint is without factual basis; (ii) will not make or permit to be made any public statement
to the effect that Defendant does not admit the allegations of the complaint, or that this Consent
contains no admission of the allegations, without also stating that Defendant does not deny the
allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in
this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely
for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11
U.S.C. §523, that the allegations in the complaint are true, and further, that any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the
Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal
securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19). If Defendant breaches this
 

 

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agreement, the Commission may petition the Court to vacate the Final J udgment and restore this
action to its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial
obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings
in which the Commission is not a party.

13. Defendant hereby waives any rights under the Equal Access to Justice Act, the
Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to
seek from the United States, or any agency, or any official of the United States acting in his or
her official capacity, directly or indirectly, reimbursement of attorney’s fees or other fees,
expenses, or costs expended by Defendant to defend against this action. For these purposes,
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settlement.

14. In connection with this action and any related judicial or administrative
proceeding or investigation commenced by the Commission or to which the Commission is a
party, Defendant (i) agrees to appear and be interviewed by Commission staff at such times and
places as the staff requests upon reasonable notice; (ii) will accept service by mail or facsimile
transmission of notices or subpoenas issued by the Commission for documents or testimony at
depositions, hearings, or trials, or in connection with any related investigation by Commission
staff; (iii) appoints Defendant’s undersigned attorney as agent to receive service of such notices
and subpoenas; (iv) with respect to such notices and subpoenas, waives the territorial limits on
service contained in Rule 45 of the Federal Rules of Civil Procedure and any applicable local
rules, provided that the party requesting the testimony reimburses Defendant's travel, lodging, and
subsistence expenses at the then-prevailing U.S. Government per diem rates; and (v) consents to

personal jurisdiction over Defendant in any United States District Court for purposes of
 

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enforcing any such subpoena.

15. Defendant agrees that the Commission may present the Final Judgment to the
Court for signature and entry without further notice.

16. Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the terms of the Final Judgment.

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Dated: S720 24 _ Ss as
Tore OF Nevada.

Ke Frederick Bauman
County of Clanic "Y

On 17*6¢ May, 2021, _ Frederick Bauman , a person known to me,
personally appeared before me antd acknowledged executing the foregoing Consent.

 

   

  

County of Clark
APPT, NO. 20-1131-01

 
 

eNotary ee
gCommi lon expires: 2.29. 277 ¢/

Approved as to form:

Legh _

Roland G. Riopelle

Sercarz & Riopelle, LLP

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Attorney for Defendant
